             Case 18-50307-KKS     Doc 61    Filed 05/17/19   Page 1 of 2




                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF FLORIDA
                         PANAMA CITY DIVISION

IN RE:                                               CASE NO. 18-50307-KKS
                                                     CHAPTER 7
ROGER ALLEN MILLS,
      Debtor.
                                    /
       ORDER GRANTING NATIONSTAR MORTGAGE, LLC
        D/B/A MR. COOPER’s MOTION FOR RELIEF FROM
    AUTOMATIC STAY SERVED ON NEGATIVE NOTICE (Doc. 56)

      THIS CAUSE came before the Court on Nationstar Mortgage, LLC d/b/a

Mr. Cooper’s (“Secured Creditor”) Motion for Relief from Automatic Stay (Doc.

56) filed under negative notice in accordance with Local Rule 2002-2 on April 18,

2019, and with no response or objection having been filed, the Court considers the

matter unopposed, and it is

      ORDERED:

      1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.

      2. The automatic stay imposed by 11 U.S.C. §§ 362, 1201, and 1301, is

      terminated as to the Secured Creditor’s interest in the following real property

      located at:

         4021 Osprey Pt Southport, Florida 32409 in Bay County, Florida, and

      legally described as:




                                         1
             Case 18-50307-KKS       Doc 61   Filed 05/17/19   Page 2 of 2




             Lot “D”, Osprey Point, as per plat thereof, recorded in
             Plat Book 13, Page 56, of the Public Records of Bay
             County, Florida.


      3.   The Order Granting Relief from Stay is entered for the sole purpose of

      allowing Secured Creditor to exercise any and all in rem remedies against the

      property described above. Secured Creditor shall not seek an in personam

      judgment against Debtors.

      4.   The Secured Creditor made sufficient allegations and a request in the

      Motion to waive the 14-day stay requirement of Bankruptcy Rule 4001(a)(3).

      No objection being raised, the automatic stay shall be lifted immediately upon

      execution of this order.

                                May 17, 2019
           DONE and ORDERED on _________________.




                                               ______________________________
                                               KAREN K. SPECIE
                                               Chief U.S. Bankruptcy Judge


       Attorney, Nathalie Rodriguez, is directed to serve a copy of this order on
interested parties and file a certificate of service within 3 business days of entry of
the order.

Prepared By:
Nathalie Rodriguez
Attorney for Secured Creditor Robertson, Anschutz & Schneid, PL 6409 Congress Ave., Suite
100 Boca Raton, FL 33487
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